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lN THE UNITED STATES DlSTRlCT COURT
FOR THE EASTERN DlSTRlCT OF VlRGlNlA
Alexandria Division

ASTER YEMER, )

Plaintiff, )

)

v ) Civil Case No. l:l8-cv-677

)

UNITED STATES ClTlZENSHIP AND )

IMMIGRATION SERVICES, )
Defendant.

MEMORANDUM OPlNION

Plaintif’f Aster Yemer, an Ethiopian citizen who has resided in the United States since
November 2009, initiated this action pursuant to 8 U.S.C. § l421(c), challenging the United States
Citizenship and Immigration Service’s (“USCIS”) denial of her naturalization application. Yemer
contends the denial was improper because USClS erroneously concluded that Yemer was not
lawfully admitted for permanent residence. USClS responds that its conclusion was correct and
that Yemer’s application fails for the additional reason that Yemer cannot establish that she has
good moral character.

At issue now are the parties’ cross~motions for summaryjudgment. The parties, by counsel,
have fully briefed and argued the motions. and they are now ripe for disposition. For the reasons
set forth herein, USCIS’s motion must be granted and Yemer’s motion must be denied.

l.

Summary judgment is appropriate only where there are no genuine disputes of material

fact, Fed. R. Civ. P. 56. Accordingly, the record facts as to which no genuine dispute exists must

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first be identified. The following undisputed facts are derived from the parties’ respective factual
narratives and their responses thereto:l

0 Yemer is a native and citizen of Ethiopia.

0 Yemer gave birth to a daughter, E.Y.B., in Addis Ababa, Ethiopia in 1999. Yemer was not
married to E.Y.B.’s father. As is customary in Ethiopia when a child is born to unwed
parents, Yemer’s mother cared for E.Y.B. Yemer, Yemer’s mother, and E.Y.B. lived
together in Addis Ababa.2

o In late 2008, Yemer submitted an electronic entry for the Diversity Immigration Visa
Program (“DV program”). Yemer did not include E.Y.B. on her Electronic Diversity Entry
Form (“eDV Forrn”).

0 Yemer was selected by lottery for further processing in the DV program, and she completed
a DS-230 Visa Application, Application for Immigrant Visa and Alien Registration,
(“Fomt DS-230"') in June 2009. In response to the question instructing Yemer to “List
Names, Dates and Places of Birth, and Addresses of ALL Children,” Yemer wrote “NA.”

0 ln connection with the process of submitting Form DS~230. Yemer was placed under oath
and interviewed by a consular official in Ethiopia on November 4. 2009. During the
interview, Yemer stated that she did not have any children. She also swore that “all
statements which appear in [her DS-230] . . . are true and complete to the best of [her]
knowledge and belief.”3

0 The Department of State granted Yemer a diversity immigrant visa, and Yemer was
admitted into the United States as a lawful permanent resident on November 28, 2009.

0 On May l3, 2015, Yemer, seeking to become a United States citizen, filed a Form N-400,

 

‘ Both parties failed to comply with Local Rule 56(b), which directs a movant for summary judgment to include a
section listing, in numbered-paragraph form, all material facts as to which the movant contends no genuine dispute
exists. The nonmovant must then respond, also in numbered»paragraph form, to each numbered paragraph, either
admitting or contesting the putative undisputed fact and citing admissible record evidence to establish a genuine
dispute of material fact. This requirement was reiterated in an Order previously issued in this case. Yemer v. USCIS,
No. |:lS-cv-677 (E.D. Va. Aug. 6, 20]8) (Order). Although the parties failed to comply and instead submitted a
narrative of facts, a careful review of those narratives discloses that the essential facts are undisputed.

2 Yemer lived with her father’s family for the first four months after E.V.B.’s birth. The record does not disclose
whether E.Y.B. lived with Yemer or Yemer’s mother during this time.

3 Yemer’s counsel disputes that Yemer was placed under oath or orally swore that statements in her Fonn DS-230
were true and correct during this interview, but the dispute is not genuine Yemer’s counsel merely asserts, in a
conclusory fashion, that she “objects to Defendant`s statement in its statement of ‘undisputed facts’ that ‘[Yemer]
was placed under oath’ at the consular interview and that [Yemer] ‘orally’ swore that [Yemer's] statements in the
DS-230 form were true and correct.’” The INA requires that "each application for an immigrant visa shall be signed
by the applicant in the presence of the consular officer, and verified by the oath of the applicant administered by the
consular officer." 8 U.S.C. § 1202(e). See also 22 C.F.R. § 42.67(a)(2). Yemer’s counsel fails to cite any record
evidence that this did not occur. lndeed, Yemer’s counsel does not even explicitly allege that it did not occur; rather,
she merely “objects" to the USClS’s assertions

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Application for Naturalization. with USClS. Form N-400 instructed Yemer to list all
children, and Yemer listed E.Y.B. Additionally, Yemer responded “no” to the following
two questions: (i) “Have you ever given any U.S. Govemment official(s) any information
or documentation that was false, fraudulent, or misleading?” and (ii) “Have you ever lied
to any U.S. Govemment official to gain entry or admission into the United States or to gain
immigration benefits while in the United States?”

o ln connection with her application for naturalization, Yemer was interviewed under oath4
on September 1, 2015. The USClS official asked Yemer whether she (i) had ever given a
United States government official information or documentation that was false. fraudulent.
or misleading or (ii) had ever lied to any U.S. government official to gain entry or
admission into the United States or to gain immigration benefits while in the United States.
Yemer orally answered “no” to both questions. Yemer also confirmed that she knew that
E.Y.B. was her daughter when she filled out Fonn DS-230 in 2009 and that she has always
known her daughter. Finally, Yemer, under oath, confirmed that the contents of her Forrn
N-400 were “true and correct.”

0 USClS sent Yemer a letter on March 7, 2016 denying her naturalization application
because she was not lawfully admitted for permanent residence. USCIS reaffirmed its
decision to deny Yemer’s naturalization application on February 9, 2018 following a
hearing.

Yemer subsequently brought this action seeking de novo review of her naturalization
application. In her motion for summary judgment, Yemer requests remand to USClS with

instructions to grant her naturalization application USClS opposes this relief and, in its cross-

motion for summary judgment, seeks a finding that Yemer is not eligible for naturalization

 

4 Yemer’s counsel disputes that Yemer was under oath during this interview. but the dispute is not genuine and does
not bar summary judgment. Yemer’s counsel merely asserts that “Plaintiff also objects to Defendant’s statement that
Plaintiff’s N-400 interview[] on September l, 2015 . . . w[as] ‘under oath."' Yet, Yemer’s counsel has cited no
record evidence to support the position that \’emer was not under oath during this interview. This lack of evidence is
unsurprising, as regulations require that a naturalization applicant be placed under oath during her interview. See 8
C.F.R. § 335.2(a) & (c). Furthermore, the USClS has provided a declaration of the USClS officer who conducted
Yemer’s naturalization interview. The declaration states that Yemer’s interview was conducted under oath and that
Yemer orally confirmed her answers to the following two questions: (i) *‘Have you ever given any U.S. Govemment
officia|(s) any information or documentation that was false, fraudulent, or misleading?" and (ii) “Have you ever lied
to any U.S. Govemment official to gain entry or admission into the United States or to gain immigration benefits
while in the United States?" ln his declaration. the USClS official further declared that it was his practice to place a
red check mark next to questions to indicate that he had asked the question orally and that the applicant had orally
confirmed her answer. Red question marks appear next to both of these questions on Yemer’s Form N-400.
Accordingly, Yemer’s counsel`s dispute that Yemer was not under oath during this interview is not genuine and fails
to preclude summary judgment. See Anderson v. Liberty Lobby, Inc., 477 U.S. 242, 248 (1986) (noting that a dispute
is genuine “if the evidence is such that a reasonable jury could return a verdict for the nonmoving party").

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ll.

The summary judgment standard is too well settled to require extensive elaboration. ln
essence, summaryjudgment is appropriate under Rule 56, Fed. R. Civ. P., only where “the movant
shows that there is no genuine dispute as to any material fact and the movant is entitled tojudgment
as a matter of law.” A genuine factual dispute exists “if the evidence is such that a reasonable jury
could return a verdict for the nonmoving party.” Anderson v. Liberty Lobby, Im:., 477 U.S. 242,
248 (1986). ln making this determination, the court must “view the facts and draw all reasonable
inferences in the light most favorable to the non-moving party.” Glynn v. ED() Corp., 710 F.3d
209, 213 (4th Cir. 2013). lmportantly. however, the non-movant may not rely on “mere
allegations.” Id. (citation omitted). Instead. the non-movant “must set forth specific facts that go
beyond the mere existence of a scintilla of evidence.” [d. (intemal quotation marks and citation
omitted). Given these principles, it is clear the material facts supporting summary judgment are
undisputed and require that USClS’s motion for summary judgment be grantcd.

Ill.

The Immigration and Nationality Act (“lNA”) provides forjudicial review of the denial of
naturalization applications Specifically, the INA provides that

A person whose application for naturalization under this subchapter is

denied . . . may seek review of such denial before the United States district court

for the district in which such person resides . . . . Such review shall be de novo, and

the court shall make its own findings of fact and conclusions of law and shall, at
the request of the petitioner, conduct a hearing de novo on the application.°

 

5 Although Yemer has not argued that summary judgment is inappropriate in light of her request for de novo review
of her application, it is worth noting that the several circuits that have considered the question have concluded that
summaryjudgment satisfies § l421(c)’s de novo hearing requirement. See Kariuki v. Tarango, 709 F.3d 495, 500-
03 (Sth Cir. 2013); Abulkhm'r v. Bush, 413 F. App’x 502, 507 n. 4 (3d Cir. 201 l); Chan v. Gamner, 464 F.3d 289,
295-96 (2d Cir. 2006).

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8 U.S.C. § 1421(c). Accordingly, judicial review of the denial of a naturalization application is
conducted de novo, and review is not limited to the administrative record. See, e.g., Kariuki v.
Tarango, 709 F.3d 495, 502 (Sth Cir. 2013); Chan v. Gantner, 464 F.3d 289, 291 (2d Cir. 2006).

lmportantly, ¥emer bears the “heavy burden of proving h[er] eligibility for citizenship.”
Cody v. Caterisano, 631 F.3d 136, 142 (4th Cir. 2011). In particular, when an alien applies for
naturalization, “the burden is on the alien applicant to show [her] eligibility for citizenship in every
respect.” Berenyi v. Disl. Dir., INS, 385 U.S. 630, 637 (1967). To that end, “doubts should be
resolved in favor of the United States and against the claimant.” ld. This is so because federal
courts “have the power to confer citizenship only ‘in strict compliance with the terms of an
authorizing statute.”" Cody v. Caterisam), 631 F.3d 136, 142 (4th Cir. 2011) (quoting INS v.
Pangilinan, 486 U.S. 875, 884 (1988)).

An applicant for naturalization must, among other requirements, establish that (i) she is of
good moral character and (ii) she was lawfully admitted as a permanent resident. 8 U.S.C. §
l427(a). With respect to the first requirement-good moral character-an applicant for
naturalization must establish that, during the five years preceding the filing of her petition, she has
been “a person of good moral character." 8 U.S.C. § 1427(a)(3); see also Berenyi v. Dist. Dir.,
INS, 385 U.S. 630, 631 (1967). An applicant “who has given false testimony for the purpose of
obtaining any [immigration or naturalization] benefits” during the previous five years is precluded
from being found to be a person of good moral character. 8 U.S.C. § l 101(f)(6).

With respect to the second requirement, the lNA provides that “no person shall be
naturalized unless [s]he has been lawfully admitted to the United States for permanent residence
in accordance with all applicable provisions of this chapter.” 8 U.S.C. § 1429. Importantly, it is

not enough that an applicant was admitted to the United States as a lawful permanent resident; as

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the Fourth Circuit has made clear, “to establish that she was lawfully admitted for permanent
residence, [an applicant] must do more than simply show that she was granted [lawful permanent
resident] status; she must further demonstrate that the grant of that status was in substantive
compliance with the immigration laws.” Injeti v. USC]S, 737 F.3d 311, 316 (4th Cir. 2013). Given
this requirement, USClS argues that Yemer cannot, as a matter of law, establish either that she is
of good moral character or that she was lawfully admitted as permanent resident.

A.

An applicant for naturalization must establish that, during the five years preceding the
filing of her petition, she has been “a person of good moral character.” 8 U.S.C. § 1427(a)(3); see
also Berenyz` v. Dist. Dir., INS, 385 U.S. 630, 631 (1967). The INA instructs that “[n]o person shall
be regarded as, or found to be, a person of good moral character who, during [the previous five
years] . . . has given false testimony for the purpose of obtaining any benefits under this chapter."
8 U.S.C. § 1101 (f)(6). Only “oral statements made under oath” qualify as testimony that precludes
a finding that an applicant has good moral character. Kungys v. U.S., 485 U.S. 759, 780 (1988).
And those statements must be made “with the subjective intent of obtaining immigration” or
naturalization benefits. ld. Importantly, however, the misrepresentation need not be material. ld.
at 779. As the Supreme Court has explained, § llOl(f)(6) “denominates a person to be of bad
moral character on account of having given false testimony if he has told even the most immaterial
of lies with the subjective intent of obtaining immigration or naturalization benefits.” ld. at 780.
Finally, because a naturalization applicant must establish her eligibility for citizenship in every

respect, an applicant “bears the heavy burden to prove, by clear and convincing evidence, that
[s]he has good moral character.” El-Ali v. Carroll, 83 F.3d 414 (Table), 1996 WL 192169, at *4

(4th Cir. 1996); see also Berenyi, 385 U.S. at 637.

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Yemer cannot make this showing; she gave false testimony under oath for the purpose of
obtaining naturalization benefits during her September 2015 naturalization interview, and thus §
1 101(f)(6) precludes a finding that she possesses good moral character.6 Specifically, Yemer gave
false testimony when she orally answered the USClS of ficer’s question whether she had ever given
any U.S. government official(s) any information or documentation that was false, fraudulent, or
misleading in the negative.7 As detailed below, this statement

(i) qualifies as testimony under § 1 101(f)(6),

(ii) was false,

(iii) was made for the purpose of obtaining naturalization benefits, and

(iv) was made within the five-year statutory window.

Accordingly, § llOl(f)(6) bars a finding that Yemer has been a person of good moral character
during the requisite period.

To begin with, Yemer’s negative response to the USCIS officer’s question whether she had
ever given any U.S. government official(s) any information or documentation that was false.
fraudulent, or misleading qualifies as testimony under § 1101(f)(6). To qualify as testimony under

this provision, a statement must be an “oral statement[] made under oath.” Kungys, 485 U.S. at

780. Yemer was under oath during the naturalization interview,8 and she orally denied that she had

 

" USClS argues Yemer cannot establish that she has good moral character for the additional reason that she made
false statements during her 2009 visa interview, and regulations allow events beyond the five-year statutory period
to be considered if they are “relevant to a determination of the applicant’s present moral character." 8 C.F.R. §
316.10(a)(2). lt is unnecessary to decide whether summaryjudgment may be granted on this basis, given the dispute
whether Yemer made these false statements with the purpose of obtaining immigration benefits, because of the
result reached.

7 USClS argues Yemer also gave false testimony when she orally responded to the USClS officer’s question
whether she had ever lied to any U.S. government official to gain entry or admission into the United States or to gain
immigration benefits while in the United States in the negative. USClS argues this testimony was false because
Yemer lied to U.S. government officials to gain entry into this country when. during her November 2009
immigration interview, she stated that she did not have any children and that the statements in her Form DS-230
were true and complete. Summaryjudgment may not be granted on this basis because it is disputed whether
Yemer’s purpose in making these statements was to gain immigration benefits.

8 As discussed in footnote 4. Yemer, by counsel, objects to the assertion that Vemer’s interview was under oath.
This dispute is not genuine and does not bar summaryjudgment because USClS has introduced record evidence that
the interview was under oath, and Yemer has failed to produce any record evidence to the contrary.

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ever given any false, fraudulent, or misleading information or documentation to a U.S. government
official. This oral statement under oath thus qualifies as testimony pursuant to § 1101(f)(6). See
Bernal v. I.N.S., 154 F.3d 1020, 1023 (9th Cir. 1998) (concluding that “the statements made by an
applicant in a naturalization examination are ‘testimony’ within the meaning of 8 U.S.C. §
1 101(1)(6)”).

Second, Yemer’s statement was clearly false. She denied she had ever given any U.S.
government official any information or documentation that was false, fraudulent, or misleading,
whereas the undisputed summary judgment record reveals that Yemer told a consular official
during her immigration interview in November 2009 that she did not have any children This was
clearly false. Yemer also responded “NA” on her Form DS-230 when instructed to “List . . . ALL
Children.” Further, Yemer swore during her immigration interview that all statements in her DS-
230 were true and complete. These responses were also false because Yemer in fact had a child,
E.Y.B.° As such, when Yemer denied ever giving a U.S. government official information or
documentation that was false, fraudulent, or misleading, the undisputed summaryjudgment record
reflects that Yemer had indeed given such information or documentation Yemer’s statement to
the contrary was thus false, See Bijan v. USCIS, 900 F.3d 942, 946 (7th Cir. 2018) (concluding
that, because a naturalization applicant had failed to disclose that he had children on his visa
application his “testimony . . . that he had never given ‘false or misleading information’ while
‘applying for any immigration benefit’ was plainly false”).

Third, Yemer’s false testimony was plainly provided for the purpose of obtaining

naturalization benefits. At the time of her naturalization interview, Yemer knew she had previously

 

9 Yemer’s argument that she was not required to list E.Y.B. on her DS-230 fails for the reasons discussed below.
Moreover, Yemer admitted in a sworn statement that, in response to a consular official`s question during her
November 2009 visa interview, Yemer stated that she did not have children Admin. R. 25. These oral references to
children surely are not controlled by the lNA’s definition of “child," nor does Yemer argue that they are.

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given false, fraudulent, or misleading information to a U.S. government official,'0 and yet Yemer
denied that she had done so. There can be no doubt that one who falsely denies during a
naturalization interview that she has previously given false or misleading information to a
government official does so for the purpose of obtaining naturalization benefits. See Bijan, 900
F.3d at 946 (“The undisputed facts show that [the naturalization applicant] was aware of the
misrepresentation on his visa application and thus that he intended to obtain an immigration
benefit-_naturalization_by denying that he had made it.”) (emphasis added). lndeed, Yemer has
not established that her purpose in falsely denying she had ever given false, fraudulent, or
misleading information to a government official was anything other than obtaining naturalization
benefits. See Berenyi v. Disl. Dir., INS, 385 U.S. 630, 637 (1967) (“the burden is on the alien
applicant to show h[er] eligibility for citizenship in every respect”). Yemer argues she lacked the
requisite purpose because she was unaware that she needed to disclose that E.Y.B. was her child
during her visa application interview. But it is Yemer’s knowledge at the time of her naturalization
interview, and not Yemer’s knowledge at the time of her visa application interview, that is
dispositive here. Whether Yemer was aware of her obligation to disclose E.Y.B. as her child, and
thus Yemer’s knowledge that she gave false information to a government official, at the time of
her visa application interview is immaterial. What is material_and dispositive-is that Yemer
gave false information when she denied having children during her visa application interview, that

Yemer was well aware that she had given false information during this interview by the time of

 

‘° Yemer’s knowledge is apparent from the fact that Yemer listed E.Y.B. on her Form N-400 naturalization
application in response to an instruction that she list all children Yemer thus was aware that E.Y.B. was her child
and that she had denied having children during the visa application process.

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her naturalization interview,ll and that Yemer nonetheless denied having ever given false,
fraudulent, or misleading information to a government official.

Finally, it is undisputed that Yemer gave this false testimony within the five-year statutory
window. lndeed, the testimony was given in connection with Yemer’s naturalization application
As such, the undisputed factual record establishes that Yemer has given false testimony for the
purpose of obtaining naturalization benefits, and 8 U.S.C. § llOl(f)(6) thus precludes a finding
that Yemer was a person of good moral character for the five years preceding the filing of her
petition

Yemer attempts to avoid this conclusion by advancing several arguments, each of which is
discussed and rejected below. Yemer first argues that her moral character is beyond the scope of
this proceeding because USClS did not identify Yemer’s lack of good moral character as a basis
for its denial of her naturalization application ln this respect, Yemer relies on the Ninth Circuit’s
decision in De Lara Bellajaro v. Schiltgen, 378 F.3d 1042, 1043-44 (9th Cir. 2004), which held
that review of the denial of a naturalization application was “limited to the ground for the denial.”
De Lara Bellajaro is inapposite here; that decision was based on the interaction between § 1421 (c)
and 8 U.S.C. § 1429, an interaction that is not relevant here inasmuch as the relevant provision of
§ 1429 does not operate in this case. Section 1429 provides, in relevant part, that “no application
for naturalization shall be considered by the Attomey General if there is pending against the
applicant a removal proceeding pursuant to a warrant of arrest.” The Ninth Circuit in De Lara
Bellajaro held that when both § 1421(c) and § 1429 are triggered-namely, when a naturalization

applicant seeks review of a decision denying her application on the ground that removal

 

“ As discussed in footnote lO, Yemer’s inclusion of E.V.B. as her child on Form N-400 indicates that, by the time
of her naturalization application Yemer was aware of her obligation to report that E.Y.B. was her daughter and thus
that she provided false information to a government official when she denied having children

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proceedings are pending, which is not the case here-review pursuant to § 1421(c) is limited to
the threshold issue of whether removal proceedings are pending against the applicant. De Lara
Bellajaro, 378 F.3d at 1046-47. lf removal proceedings are pending, review pursuant to § l421(c)
terminates ld. This is because § 1429 limits the scope of review and the relief available under §
1421(c) by barring consideration of the merits of the naturalization application Id.. The Ninth
Circuit did not, as Yemer now requests, conclude that district courts can review only a portion of
the merits of a naturalization application ld. at 1046. Nor did the Ninth Circuit hold that § 1421 (c)
review is limited in scope in the absence of pending removal proceedings Accordingly, Yemer’s
argument that De Lara Bellajaro limitsjudicial review of the denial of a naturalization application
to the bases on which USClS denied the application when there is not a pending removal
proceeding extends the decision beyond its scope.

Furthermore, the INA provides that “the court . . . shall, at the request of the petitioner,
conduct a hearing de novo on the application.” 8 U.S.C. § 1421(c). The statute thus explicitly
provides for de novo review of the naturalization application not merely review of the USClS’s
decision denying the application lndeed, several circuits have explicitly stated that the scope of
review under 8 U.S.C. § 1421(c) is not limited to the administrative record. See Kariuki v. Tarango,
709 F.3d 495, 502 (5th Cir. 2013); Chan v. Ganlner, 464 F.3d 289, 291 (2d Cir. 2006). lt is true,
as Yemer points out, that § 1421(c) authorizes “[a] person whose application for
naturalization . . . is denied, . . . [to] seek review of such denial . . .. Such review shall be de
novo . . . .” 8 U.S.C. § 1421(c). Yemer argues that because “such review” refers to the denial, that
review is limited to the bases on which USClS denied the application I-lowever, the statute’s final
directive_that “the court . . . shall, at the request of the petitioner, conduct a hearing de novo on

the application”-is clear and must be given its full effect, namely that the de novo hearing is on

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the application and not merely the USClS’s denial of application ld. Consistent with this view,
the Fifth Circuit has explained that the first reference to de novo “simply explains that the
deferential ‘arbitrary and capricious’ standard often applicable to administrative reviews does not
apply in this context.” Kariuki v. Tarango, 709 F.3d 495, 502 (5th Cir. 2013). The latter reference
to de novo “clari fies that review is not limited to the administrative record.” ld. Moreover, Yemer’s
contention plainly contradicts the Supreme Court’s assertion that “it has been universally accepted
that the burden is on the alien applicant to show h[er] eligibility for citizenship in every respect.”
Berenyi v. Dist. Dir., INS, 385 U.S. 630, 637 (1967). Were review limited to the bases on which
USCIS denied Yemer’s application Yemer would effectively and impermissibly be relieved of
her obligation to establish her “eligibility for citizenship in every respect.” ld.

Yemer next argues that she did not make a false statement when she said she did not have
children because E.Y.B. is not a “child” under the INA. 'I`he INA defines “child,” as relevant here,
as “an unmarried person under twenty-one years of age who is a child born out of wedlock, by,
through whom, or on whose behalf a status, privilege, or benefit is sought by virtue of the
relationship of the child to its natural mother.” 8 U.S.C. § llOl(b)(l)(D). According to Yemer,
because E.Y.B. was born out of wedlock and no status, privilege, or benefit was sought by,
through, or on behalf of E.Y.B. by virtue of E.Y.B.’s relationship to Yemer when Yemer filled out
the visa application forms, E.Y.B. was not a “child” under the INA. As such, Yemer argues,
Yemer’s “NA” response to Form DS-230’s instruction that she list “ALL children” was not false,
nor was her oral statement to the consular official that she did not have children This argument
fails because the lNA’s definition of “child” does not apply to Form DS-230 or to the consular

official’s and Yemer’s oral references to “children.”

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The lNA’s definition of “child” does not apply to Form DS-230’s reference to “children,”
as evidenced by the lNA’s text, Form DS-230’s context, and the anomalous result Yemer’s
interpretation would produce. First, the INA stipulates that the definition of “child”'2 applies “[a]s
[the term is] used in subchapters I and ll” of the INA. ld. The definition does not purport to apply
to references to “children” in immigration forms, nor does Yemer argue that Form DS-230
references the lNA’s definition Such a reference would be expected if the lNA’s definition of
“child” were intended to apply to Form DS-230 because of the length and complexity of the lNA’s
definition lndeed, the lNA’s definition of “child” contains seven subsections_some with multiple
subparts-and spans 8 U.S.C. § llOl(b)(l)(A)-(G). Given the length and complexity of this
provision it would be strange indeed for “children” in Form DS-230 to refer only to these seven
precise categories of “child” in the INA despite no mention of these categories on Form DS~230.
Second, the context in which “children” appears in Form DS-230 confirms that the ordinary
meaning of “children,” and not the lNA’s definition applies to that form. Specifically, Form DS-
230 instructs applicants to “List Names, Dates and Places of Birth, and Addresses of ALL
Children.” The emphasis on “ALL” indicates that “children” is to be interpreted broadly. This
emphasis makes little sense if “children” is interpreted under the limiting definition in 8 U.S.C. §

llOl(b)(l)(D).13 Finally, Yemer’s approach would allow applicants to choose whether to include

 

'2 The lNA contains a separate definition of “child” that applies to subchapter lll of the Act. See 8 U.S.C. §
l 101(c)(1). All references to the definition of child in this memorandum opinion refer to the definition of “child”
that applies to subchapters l and lI and is located at 8 U.S.C. § l 10|(b)(1)(A)-(G).

'3 The State Department’s then-applicable eDV Program regulations similarly implied that the lNA’s definition of
“child” did not apply to the eDV Fonn. Although Vemer's responses on her eDV Form are not dispositive here. the
regulations underscore that references to “children" in immigration forms are not necessarily controlled by the
lNA’s definition of “child.” Specifically, the then-applicable eDV Program regulations provided that the eDV Form
must include “[t]he name[s], date[s] and place[s] of birth and gender of the petitioner’s . . . child[ren], if

any, . . . regardless of whether or not they . . . intend to accompany or follow to join the petitioner should the
petitioner immigrate to the United States." 22 C.F.R. § 42.33(b)( l )(v) (2008). This regulation implies that
“child[ren]” on the eDV Form is not limited to the lNA’s definition of “child.” The lNA’s definition of “child”
includes children born out of wedlock only if “a status, privilege, or benefit is sought" “by. through . . . , or

on . . . behalf’ of the child “by virtue of the relationship of the child to its natural mother or to its natural father if the

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biological children born out of wedlock on their immigration forms, an anomalous result. lndeed,
such an approach could allow aliens to circumvent the statutory cap on diversity visas, further
confirming that the INA’s definition of “child” was not intended to apply Form DS-230. This is
because derivative diversity visas issued to the spouses and children of diversity visa lottery
winners count toward the total number of diversity visas awarded each year. See 8 U.S.C. § l 151(e)
(authorizing the award of 55,000 diversity visas each year); 8 U.S.C. § 1153(d) (entitling the
spouse and children of a diversity visa lottery winner to the same right of admission as the lottery
winner). 'l`he statutory cap on the number of available diversity visas may be circumvented by
diversity visa lottery winners who fail to disclose their immediate family members on their visa
application and later petition for visas for these family members under a separate category. See 8
U.S.C. 1153(a)(l)-(2) (providing separate caps on the number of visas granted to the spouses and
children of citizens and lawful permanent residents). Accordingly, it is evident that the lNA’s
definition of “child” does not apply to Form DS-230’s reference to “children.”

Moreover, even assuming, arguendo, that “children” on Form DS-230 referred only to
children captured by the lNA’s definition of “child,” Yemer still gave false testimony. She admits
that, when asked by the consular official at her visa interview in November 2009 whether she had
any children Yemer “told them that I don’t have children.” Admin. R. 25. lt defies credulity to

contend-and, indeed, Yemer does not argue-that the consular official’s oral question referred

 

father has or had a bona fide parent-child relationship with the person.” 8 U.S.C. § 1 lOl(b)(l)(D). The eDV
regulations, by contrast, require an applicant to list all children "regardless of whether or not they . . . intend to
accompany or follow to join the petitioner should the petitioner immigrate to the United States." Thus, the eDV
regulations specifically require disclosure of children who do not seek immigration benefits. whereas the lNA
definition does not include such children if they are born out of wedlock. lt makes little sense to conclude the eDV
Form-which specifically requires disclosure of children who do not seek immigration benefits-was meant to
exclude children born out of wedlock who do not seek immigration benefits, particularly in the absence of any
reference to the to the child’s legitimacy in the form or regulations lt thus cannot be concluded that the lNA’s
definition of “child” was intended to apply to immigration forms.

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only to children that fall within one of the seven subcategories of children in 8 U.S.C. §
llOl(b)(l)(D). Accordingly, Yemer’s argument is unsuccessful.

Finally, Yemer argues that a materiality requirement should be read into the question
whether an applicant has ever given any U.S. government official(s) any information or
documentation that was false, fraudulent, or misleading when determining whether that applicant
is precluded from being found to have good moral character under § 1101(f)(6). The Supreme
Court rejected a similar argument in Kungys v. United States, 485 U.S. 759 (1988). lndeed, the
Kungys Court emphasized that § llOl(f)(6) “denominates a person to be of bad moral character
on account of having given false testimony if [s]he has told even the most immaterial of lies with
the subjective intent of obtaining immigration or naturalization benefits.” Kungys, 485 U.S. at 780
(emphasis added). Yemer’s argument that a materiality requirement should be read into the
question in the context of determining whether false testimony has been given under § 1 101(0(6)
must thus be rejected.

B.

USClS next argues that the denial of Yemer’s naturalization application should be upheld
because Yemer was not lawfully admitted as a permanent resident, as required by 8 U.S.C. §
l427(a)(2). See also 8 U.S.C. § 1429. Because USClS is correct that Yemer cannot establish that
she is of good moral character, it is unnecessary to reach or decide whether Yemer was lawfully
admitted as a permanent resident.

lV.

To be sure, it’s unfortunate that Yemer’s path to citizenship foundered at the end, But, as

the Supreme Court has explained,

when an alien seeks to obtain the privileges and benefits of citizenship, . . . [sh]e is
the moving party, affirmatively asking the Govemment to endow h[er] with all the

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advantages ofcitizenship. Because that status, once gramcd, cannot lightly be taken
away, the Govemment has a strong and legitimate interest in ensuring that only
qualified persons are granted citizenship For these reasons, it has been universally
aceeptcd.that the burden is on the alien applicant to show h[er] eligibility for
citizenship in eveiy respect,
Bcreqyi v. Dist. Dir., INS, 385 U.S. 630. 636-37 (1967). ¥emcr has failed to satisfy that burden
and the undisputed factual record does not disclose a triable issue of fact. Accordingly. and for the
reasons discussed above. USClS’s motion for summary judgment must be granted, and Yemer’s
motion must be denied,

An appropriate Order will issue.

Alexandria, Virginia
Febniary 12. 2019

     
  

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